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                                                                                  2021 Aug-26 AM 08:14
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA

NEW YORK LIFE INSURANCE )
COMPANY,                 )
                         )
                         )                     Case No.: 5:20-CV-01299-LCB
             Plaintiff,  )
                         )
    v.                   )
                         )
SHANNAN ROBERTS,         )
PATRICIA ROBERTS, and    )
LEE ANN ROBERTS,         )
                         )
             Defendants. )

                             MOTION TO CONTINUE

      COMES NOW Plaintiff New York Life Insurance Company (the “Company”)

and moves this Honorable Court for a continuance of the Motion Hearing presently

scheduled for August 31, 2021. As grounds for this motion, Plaintiff states as

follows:

      1.       On August 24, 2021, a text order (Doc. 39) was issued setting all

pending motions for a Motion Hearing on August 31, 2021, in the Federal

Courthouse in Huntsville, Alabama.

      2.       Plaintiff’s counsel will be out of the state from August 29, 2021 to

September 6, 2021 and will have limited access to electronic communication.

      3.       Plaintiff’s counsel has conferred with counsel for all parties, and the

parties do not object to the Company’s request for a continuance.
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      4.       The continuance requested herein will not prejudice the parties to this

action or unduly delay the progress of this action.

      WHEREFORE, premises considered, the Company requests the Court grant

a continuance of the Motion Hearing to the next available date on the Court’s docket.

      Respectfully submitted this 26th day of August 2021.


                                        /s/ Felicia A. Long
                                        Felicia A. Long (ASB-5532-F61L)
                                        Counsel for New York Life
                                        Insurance Company


OF COUNSEL:
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                         CERTIFICATE OF SERVICE

       I hereby certify on this 26th day of August 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification to the following via electronic mail:

R. David McDowell, Esq.
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Counsel for Counter-Defendants William A. Bee
and Bee Insured Benefits Group, L.L.C.


                                            /s/ Felicia A. Long
                                            Of Counsel




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